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                                   UNITED STATES DISTRICT COURT
                                       DISTRICT OF VERMONT


    TRACY L. RUBMAN; JAMES
    ELLERY BAKER; KATHY A.
    LOTHIAN,
                                                                       No. 2:22-CV-181-WKS
                     Plaintiffs,

    v.

    BAYER AG; MONSANTO COMPANY;
    BAYER CROPSCIENCE L.P.; SOLUTIA,
    INC.; PHARMACIA, L.L.C.;
    PHARMACIA, INC.; and PHARMACIA
    CORP.

                     Defendants.


                      EMERGENCY MOTION TO PRESERVE EVIDENCE,
                         REQUEST FOR EXPEDITED DISPOSITION,
                                       AND
                               REQUEST FOR HEARING

         Monsanto Company, Bayer CropScience LP, Solutia Inc., and Pharmacia LLC

(“Defendants1”) move for an order preventing the Burlington School District (“BSD”)2 from

demolishing Burlington High School until Defendants have had a reasonable opportunity to

inspect and preserve evidence that not only lies at the heart of this case, but is likewise central to



1
          In March 2000, the former Monsanto Company changed its name from Monsanto to Pharmacia Corporation,
n/k/a Pharmacia LLC (“Pharmacia”). Pharmacia Inc. and Pharmacia Corporation, as named in the Complaint, do not
exist. To the extent Pharmacia Inc. and Pharmacia Corporation are deemed to be properly named Defendants, they
are joining in this Motion.
2
         The Court has jurisdiction over BSD – a nonparty operating in Burlington, Vermont – to preserve evidence
relevant to the case before the Court. See, e.g., Bright Sols. for Dyslexia, Inc. v. Doe 1, No. 15-CV-01618-JSC, 2015
WL 5159125, at *3 (N.D. Cal. Sept. 2, 2015) (granting a preservation order against a nonparty “where the entities that
have the information . . . have no duty to preserve absent a court order”); Arkin v. Gracey-Danna, Inc., No. 8:16-CV-
1717-T-35AAS, 2016 WL 3959611, at *2 (M.D. Fla. July 22, 2016) (same); Swetlic Chiropractic & Rehab. Ctr., Inc.
v. Foot Levelers, Inc., No. 2:16-CV-236, 2016 WL 1657922, at *3 (S.D. Ohio Apr. 27, 2016) (same); Centurylink,
Inc. v. Alpine Audio Now, LLC, No. 15-CV-01973-MSK-KLM, 2016 WL 192291, at *2 (D. Colo. Jan. 15, 2016)
(same); Deggs v. Fives Bronx, Inc., No. CV 19-406-BAJ-EWD, 2020 WL 3100023, at *6 (M.D. La. June 11, 2020)
(same).
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a separate civil action filed just ten days ago, on December 9, 2022, by the school district itself, in

which BSD seeks approximately $190 million in damages.3 Notwithstanding these recently filed

lawsuits and the multimillion dollar damages at stake, BSD has stated that it intends to demolish

the high school starting on January 23, 2023 – approximately one month from now – and just 45

days after BSD filed its suit against Defendants. As of the date of this Motion, Defendants have

not even been served with the BSD Complaint.

        Simply put, Burlington High School is the most critical evidence in both of these cases,

which arise from the alleged presence of polychlorinated biphenyls (“PCBs”) in the high school

buildings, and yet BSD is refusing to cooperate in allowing reasonable time for inspections.

Failing to give Defendants an opportunity to inspect the buildings would be irreversibly

prejudicial.

        As explained below, Defendants have done everything they can think of to proceed

reasonably under the circumstances: (1) as soon as the press reported BSD planned to demolish

the buildings in January, Defendants immediately reached out to BSD expressing concern about

spoliation and to open a good faith dialogue about inspection; (2) Defendants then issued a

subpoena to BSD seeking documents potentially relevant to the inspections; (3) a few days later,

Defendants then agreed to substantially narrow their requests, seeking only the documents

essential to conduct an inspection; (4) Defendants have now met and conferred with BSD four

times by Zoom trying to work out a reasonable production and inspection timeline; and (5) finally,

as a last ditch effort to avoid court intervention, Defendants proposed a stipulation, attached as

Exhibit A, which lays out entirely reasonable benchmarks for the parties to exchange documents




3
       See Burlington School District v. Monsanto et al., Doc. 2:22-cv-215-wks, Doc. No. 1 at ¶ 136, filed
December 9, 2022, but not yet served on Defendants.

                                                        2
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and conduct inspections no later than March 15, 2023. In other words, Defendants are seeking

only a reasonable delay to ensure that a meaningful inspection can proceed.

       On Friday afternoon, BSD categorically rejected Defendants’ stipulation, explaining that

“nothing” in it was acceptable, and not offering any alternative timeline or other accommodation.

Indeed, to date, even though BSD has produced thousands of pages of materials from third-party

consultants, BSD: (1) has produced none of its own documents (but claims to have hundreds of

boxes of documents); (2) has produced no documents responsive to numerous, essential categories

of subpoenaed materials; (3) has refused to commit to a date by which subpoena compliance will

be achieved (as of today, BSD’s response is nowhere near complete, and is in fact overdue); and

(4) most importantly, has refused to agree that the high school will be preserved until reasonable

inspections can occur.

       The stakes are simply too high to play a game of chicken with a wrecking ball, especially

when the delay being sought is reasonable and necessary. With the timing and equities as they

are, and with allegedly tens if not hundreds of millions of dollars at issue, a reasonable pause on

demolition is appropriate to allow this critical evidence to be inspected and preserved. Conversely,

failure to preserve the buildings so that reasonable inspections can be conducted would constitute

clear – and easily avoidable – spoliation, resulting in significant prejudice to Defendants that could

undermine these actions entirely.

       Given the extremely tight timing, Defendants request expedited briefing and an emergency

hearing. Defendants will make themselves available for an emergency hearing on these matters at

the Court’s convenience.




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                                             BACKGROUND

        This is a personal injury action arising from the design and construction of Burlington High

School nearly sixty years ago. Plaintiffs Tracy L. Rubman, James E. Baker, and Kathy A. Lothian

(“Plaintiffs”) seek damages from Defendants related to the historical manufacture and sale of PCBs

prior to 1977. (Doc. No. 1, ¶ 29.) Ms. Rubman and Ms. Lothian, who worked at Burlington High

School between 2015 and 2022, claim to have suffered adverse health consequences from being

exposed to Defendants’ PCBs at Burlington High School. (Id. ¶¶ 2, 4.)

        Plaintiffs filed the instant Complaint on October 5, 2022, and served Defendants on

October 10 and 11, 2022. (See Doc. Nos. 1, 5–10.) On October 13, 2022, BSD announced it

intended to file its own lawsuit against Defendants aiming to “aggressively seek compensation”

for Defendants’ alleged contamination of Burlington High School.4 On November 11, 2022,

Defendants learned through the media that despite the fact that BSD had yet to file a lawsuit, BSD

intended to begin demolishing the high school campus “by January” 2023.5

        That same day, defense counsel reached out to counsel for BSD by email, raising concerns

about the timing of inspections relative to demolition. Defense counsel wrote, in relevant part:

        Media reports this week indicate the school district intends to proceed with
        demolition as soon as January. We’re concerned that doesn’t allow enough time
        for proper inspection of the high school in connection with the Rubman litigation
        that has already been filed, or the school district litigation that is described in the
        media as forthcoming. I’d like to discuss the timing of inspections relative to
        demolition with you as soon as possible. Obviously we need to avoid spoliation.

(Nov. 11, 2022 correspondence between counsel, attached as Exhibit B.) BSD responded, also

on November 11, indicating its awareness of the spoliation concern and conveying a willingness


4
          Burlington School District to Sue Monsanto Over PCB Contamination, VT Digger, Oct. 13, 2022, available
at https://bit.ly/3W7a9LG.
5
       See Voters Approve Bond to Build New Burlington High School and Technical Center, Vermont Biz
Magazine, Nov. 11, 2022, available at https://bit.ly/3HucBYJ.

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to confer about potential solutions. The following week, after a telephone conversation between

counsel on November 14 to discuss the need for preliminary document production in advance of

any building inspections, on November 18, 2022, Defendants issued a subpoena to BSD seeking

production of documents relevant to this lawsuit. (See Defendants’ Nov. 18, 2022 Subpoena,

attached as Exhibit C.)

         Four days later, on November 22, 2022, counsel met and conferred for the first time by

Zoom. On that call, and considering BSD’s tight demolition timeline, Defendants agreed to narrow

the scope of their subpoena by focusing only on the documents Defendants’ experts must review

before inspecting the high school. (See Defendants’ Nov. 23, 2022 email to BSD, attached as

Exhibit D.) Defendants’ reduced document requests focused on materials relating to (a) the

construction/design of the high school, (b) renovations, (c) maintenance, (d) testing, and (e) the

working locations and conditions of Plaintiffs. Thereafter, in a further effort to assist BSD with

its search for relevant documents, Defendants provided BSD a list of search terms to focus the

document collection process even more. (See Defendants’ Dec. 8, 2022 email to BSD, attached

as Exhibit E.)

         On December 2, 2022, BSD responded to Defendants’ narrowed document requests by

asserting objections to every single request, and then producing what appears to be approximately

3,000 pages of publicly available testing data from 2019 to the present. (See BSD’s Dec. 2, 2022

letter to Defendants, attached as Exhibit F.) BSD did not produce any documentation prior to

2019, even though Burlington High School was constructed in 1964; in other words, no building

maintenance or testing materials were produced for a 55-year period.6




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        It was also at this time that BSD specifically disclosed for the first time that demolition was to begin on
January 10, 2023.

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         On December 14, 2022, BSD provided an update on both its document collection efforts

and BSD’s demolition plans, in particular noting as to the latter that a number of regulatory hurdles

still needed to be cleared before demolition could commence, and therefore that demolition was

unlikely to proceed in January as previously indicated. (See BSD’s Dec. 14, 2022 email to

Defendants, attached as Exhibit G.)

         Given BSD’s representations, on December 15, Defendants proposed a stipulation that

would facilitate document exchange with the ultimate goal of conducting inspections no later than

March 15, 2023. (See Exhibit A.) On December 16, Defendants met and conferred over Zoom

with BSD regarding the proposed stipulation. BSD made clear that there was no aspect of the

stipulation that it could agree with.

         On December 16 and 17, 2022, Plaintiffs produced another set of documents, including

approximately 35,605 pages of material from BSD’s third-party consultants. BSD did not identify

Defendants’ document request(s) that these documents are responsive to. Additionally, given that

the documents were produced via “load file”,7 Defendants have not had the opportunity to review

every single page of production. However, Defendants’ preliminary review indicates that BSD is

still nowhere near complying with Defendants’ subpoena. None of the production includes

historical documentation from the school, including documents related to the construction/design

of the high school, renovations, and maintenance. Indeed, BSD has still not produced any

documentation prior to 2019.

         Defendants cannot perform meaningful inspections without understanding what is being

inspected. Indeed, Defendants’ experts must review the relevant background documentation in


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         Instead of producing documents in their native form, like PDF or xls, load files produce data via individual
tiff images so that they can be uploaded to document management software. Although this method of production is
not improper, load files require more processing time because third-party vendors often need to be involved in the
upload process.

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order to perform a meaningful inspection. As Defendants’ engineering expert, Wayne Hubbard,

explains in an Affidavit attached hereto as Exhibit H, Defendants’ experts must engage in a careful

and detailed review of “building engineering and maintenance documents” before an inspection

can occur. (Hubbard Affidavit, ¶ 4.)8 Such documents include critical information needed to

“understand the mechanical design and operation of the buildings’ mechanical systems, both as

originally designed and as modified over time.” (Id. ¶ 6.) Without reviewing this background

documentation, “an engineer would essentially be ‘walking blind’ through buildings” and it would

be difficult for experts to “meaningfully understand and assess the operation, condition, and

functionality of the buildings’ mechanical systems.” (Id. ¶ 7.)

                                                 DISCUSSION

         “[C]ourts are empowered to issue orders enforcing a party’s preservation obligations,

especially where the failure to preserve poses an unacceptable risk of undermining the integrity of

the judicial process or preventing an adjudication on the merits altogether.” Toussie v. Allstate

Ins. Co., No. 15CV5235ARRCLP, 2018 WL 2766140, at *3 (E.D.N.Y. June 8, 2018) (subsequent

history omitted). Preservation orders are even “more pressing” when evidence is in the possession

of nonparties that have no duty to preserve absent a court order. Bright Sols. for Dyslexia, Inc.,

2015 WL 5159125, at *3; Arkin, 2016 WL 3959611, at *2 (“[B]ecause WestFax is not a party to

this litigation and has no duty to preserve evidence absent a court order, the need for preservation

is all the more pressing.”). To determine whether a preservation order is necessary, the Court

considers:

         1) the level of concern the court has for the continuing existence and maintenance
         of the integrity of the evidence in question in the absence of an order directing
         preservation of the evidence; 2) any irreparable harm likely to result to the party
         seeking the preservation of evidence absent an order directing preservation; and 3)

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         Defendants could readily provide similar affidavits from several of its experts. However, it would be
prejudicial and burdensome to force Defendants to disclose all of its experts before fact discovery has even begun.

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          the capability of an individual, entity, or party to maintain the evidence sought to be
          preserved, not only as to the evidence’s original form, condition, or contents, but
          also the physical, spatial and financial burdens created by ordering evidence
          preservation.

Toussie v. Allstate Ins. Co., No. 15-CV-5235 (ARR)(PK), 2018 WL 11451597, at *3 (E.D.N.Y.

Aug. 15, 2018) (citation omitted).9 All three of these factors weigh in favor of a court order

preserving Burlington High School until Defendants have a reasonable opportunity to conduct

meaningful, informed inspections.

    A. Absent Court Intervention, Burlington High School And All Of The Evidence Within
       It Will Be Destroyed On January 23, 2023.

          An immediate preservation order is necessary because BSD will begin destroying

Burlington High School on January 23, 2023. Courts have held that preservation orders are

necessary when there is a specific, imminent threat that a nonparty will destroy evidence relevant

to the case before the court. See Bright Sols. for Dyslexia, Inc., 2015 WL 5159125, at *3 (ordering

preservation on nonparties where “Plaintiffs . . . established that, based on their prior experience

with eBay, PayPal, and Google and those entities’ regular business practices, user data is routinely

destroyed within months after a user deletes that information”); Arkin, 2016 WL 3959611, at *2

(same).

          Moreover, this preservation factor requires courts to focus on “maintaining the integrity of

the evidence in a form as close to, if not identical to, the original condition of the evidence.”

Capricorn Power Co. v. Siemens Westinghouse Power Corp., 220 F.R.D. 429, 435 (W.D. Pa.

2004). This factor is easily met in this case. BSD has announced that it will begin destroying the

Burlington High School campus on January 23, 2023. If the school buildings are destroyed,


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        “Other courts have adopted a more streamlined test that simply ‘requires that one seeking a preservation
order demonstrate that it is necessary and not unduly burdensome.’” Treppel v. Biovail Corp., 233 F.R.D. 363, 370
(S.D.N.Y. 2006) (citation omitted) (noting that the distinction between the two tests is “more apparent than real”).
Under either test, Defendants are entitled to an order preserving Burlington High School.

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Defendants will lose all ability to test, preserve, and inspect evidence related to not only this case,

but also to BSD’s $190 million lawsuit to recoup costs of building a new high school. To date,

BSD has given Defendants no assurances that it will delay demolition until inspections can occur.

   B. Defendants Will Suffer Irreparable Harm If The High School Is Demolished.

       Defendants will lose all ability to defend themselves from claims in this lawsuit and in the

lawsuit by BSD if BSD destroys the high school before inspections can occur. Preservation orders

are necessary when the evidence at issue is “one-of-a-kind” and “integral and essential to a party’s

case.” See Capricorn Power Co., 220 F.R.D. at 435 (noting that both “one-of-a-kind” evidence,

as well as evidence that is “integral and essential to a party’s case,” may require a preservation

order even in the absence of significant concern of loss or destruction).

       In this case, the Burlington High School campus is a textbook example of unique, one-of-

a-kind evidence that must be preserved until Defendants can inspect the school. The high school

must be preserved in its current state for appropriate inspections to be conducted. For example, if

the buildings are demolished, Defendants experts cannot inspect the building’s mechanical

systems, let alone assess how those mechanical systems operated when Plaintiffs were allegedly

exposed to PCBs.

        Additionally, Defendants must have background documentation to effectively inspect the

school. As Mr. Hubbard explains in his affidavit, without understanding the mechanical design

and operation of the high school campus as it was originally designed and as it was modified over

time, Defendants’ experts would “essentially be walking’ blind” through the high school.

(Hubbard Affidavit, ¶ 7.) Defendants’ experts must be given the time to meaningfully understand

the buildings so that they can assess, test, and preserve evidence that is the subject of Plaintiffs and

BSD’s multi-million dollar claims. (See id. ¶ 7.)



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       Finally, Defendants cannot simply rely on BSD’s prior sampling and testing for PCBs and

other substances. See Toussie, 2018 WL 2766140, *8–9 (finding defendants’ pictures insufficient

preservation given that “both parties may need experts to examine particular items to resolve

[factual] disputes, and the trier of fact may need to examine some of the items to determine if in

fact, as plaintiffs claim, the items in the boxes are ‘pristine’ and ‘unused’”); R.F.M.A.S., Inc. v. So,

271 F.R.D. 13, 50 (S.D.N.Y. 2010) (finding in the context of spoliation that “[i]t is clear that an

actual examination of the allegedly infringing jewelry would have provided a stronger foundation

for [plaintiff’s] experts’ opinions. Photographs are a poor substitute for the actual pieces”).

Defendants’ experts must be permitted to apply their own testing methodologies to challenge

Plaintiffs and BSD’s contamination allegations. Moreover, Defendants’ inspections will be far

broader than the narrow issue of PCB contamination. For example, Defendants’ experts must be

permitted to examine and test for non-PCB contaminants that may have caused Plaintiffs’ injuries.

Indeed, the records thus far produced by BSD document extensive asbestos and lead issues at the

high school.

    C. BSD’s Burden Is Minimal And BSD Is Solely Responsible For Demolition Delays.

       BSD’s burden to preserve and maintain the high school is minimal. Defendants are not

seeking a lengthy, protracted delay. Instead, Defendants request that the Court pause demolition

for no more than a reasonable period of time to allow Defendants’ experts to review critical

background documentation and inspect the school. Defendants are not proposing a specific time

period for delay for the simple reason that Defendants have no control over when BSD will produce

necessary records. Defendants did their part and promptly subpoenaed the needed records. That

subpoena was met with serial objections, making motion practice of unknown length inevitable.

Defendants expect that once they receive the subpoenaed documents, Defendants’ experts will



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require no more than two weeks to review that material, and then the multi-disciplinary inspection

will take roughly 5 days. Once Defendants’ inspections are completed, Defendants have no

objection to BSD demolishing the high school.

        To the extent that any harm or expense results from this reasonable requested delay, BSD

is responsible for it. As chronicled above, Defendants reached out immediately and in good faith

in hopes of avoiding a delay in demolition. Despite Defendants’ efforts, BSD has objected to or

been unable to produce the documents requested. It would appear that this is at least in part due

to the fact that despite allegedly discovering PCBs in the school in 2019,10 BSD waited over three

years, until Defendants issued a subpoena in 2022, to begin searching for relevant documents.11

Because BSD’s last-minute scramble to gather necessary documents is a crisis of its own creation,

a preservation order is reasonable and warranted in these circumstances. See Capricorn Power

Co., 220 F.R.D. at 435 (preservation orders can be avoided if “parties take immediate action to

obtain or reproduce from the evidence the information needed; however, if the parties are not

cooperative in this situation, then an order directing the preservation of the evidence in question

in a manner that will preserve the whole of the evidence for the benefit of all parties may be

necessary”). Moreover, BSD has given Defendants no reason why a reasonable delay in its

demolition schedule would be prejudicial to BSD given that the renovation process began nearly

four years ago in 2019.




10
        BSD’s July 15, 2019 Phase II Environmental Assessment indicated that soil samples from the high school
contained PCBs that exceed the VT Urban Background Soil Standards and non-residential Vermont Soil Standards.
(See ACT 2019 Limited Phase II ESA for Burlington High School, July 15, 2019, at 2, attached as Exhibit I.)
11
        It appears BSD publicly accused Defendants of contaminating the high school without searching for basic
documentation supporting its claims, including the product manufacturers responsible for selecting, installing,
purchasing, selling, or manufacturing building products allegedly containing PCBs.

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                                        CONCLUSION

       For the reasons set forth above, Defendants respectfully request this Court enter an order

delaying demolition of Burlington High School for a reasonable period of time to allow Defendants

to conduct inspections and preserve evidence.

       Dated: December 19, 2022

                                            DEFENDANTS

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